            Case 2:20-cv-05841-AB Document 35 Filed 02/16/22 Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    ASHLEY B. BENNETT,                                     :
               Plaintiff.                                  :        CIVIL ACTION
                                                           :        No. 20-5841
                  v.                                       :
                                                           :
    NORTH PENN SCHOOL                                      :
    DISTRICT,                                              :
              Defendant.                                   :

                                    EXPLANATION AND ORDER

         Plaintiff Ashley B. Bennett (“Bennett”) brings suit under 42 U.S.C. § 1983 against

Defendants North Penn School District (“North Penn”), North Penn School District Board of

School Directors (“Board of Directors”), and members of the Board of Directors and certain

employees of North Penn (“Individual Defendants”). Bennett alleges that Defendants violated

her constitutional rights when they retaliated against her and forced her to resign after she posted

a Facebook message that was critical of Black Lives Matter and supportive of President Donald

Trump. Bennett brings three claims against Defendants: 1) a First Amendment free speech

retaliation claim; 2) a First Amendment political affiliation retaliation claim; and 3) a Fourteenth

Amendment procedural due process claim. Individual Defendants move to partially dismiss

Bennett’s claims on two grounds. 1

         First, Individual Defendants argue that the members of the Board of Directors should be

dismissed because the Complaint does not allege that they have taken any specific action. “A


1
  In their reply, Individual Defendants raise new arguments to win dismissal of all claims brought against
them. Because it is improper to raise arguments for the first time in a reply brief, they are deemed waived
and will not be addressed. See United States v. Martin, 454 F. Supp. 2d 278, 281 n.3 (E.D. Pa. 2006)
(declining to address any issues raised for the first time in a reply brief because “[a] reply brief is intended
only to provide an opportunity to respond to the arguments raised in the response brief; it is not intended
as a forum to raise new issues”); Wilson v. Colvin, 218 F. Supp. 3d 439, 452 (E.D. Pa. 2016) (finding that
a magistrate judge “correctly rejected” an argument “raised for the first time in Plaintiff’s reply brief”
because it was “deemed waived”).

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           Case 2:20-cv-05841-AB Document 35 Filed 02/16/22 Page 2 of 5




defendant in a civil rights action must have personal involvement in the alleged wrongs . . . .

Personal involvement can be shown through allegations of personal direction or of actual

knowledge and acquiescence.” Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988).

Bennett’s allegations include, among others, that Bennett notified the board members via email

that she believed she was being forced to involuntarily resign, and the board members

participated in a board meeting where they accepted her alleged sham resignation. Because

Bennett sufficiently alleges that the board members participated and acquiesced in violating her

constitutional rights, I deny the motion to dismiss on this basis.

        Second, Individual Defendants argue that Bennett’s First Amendment free speech

retaliation claim should be dismissed on the basis of qualified immunity. 2 “[Q]ualified immunity

will be upheld on a 12(b)(6) motion only when the immunity is established on the face of the

complaint.” Thomas v. Independence Township., 463 F.3d 285, 291 (3d Cir. 2006) (quoting

Leveto v. Lapina, 285 F.3d 156, 161 (3d Cir. 2001)). Qualified immunity under § 1983 shields

officials from liability “unless (1) they violated a federal statutory or constitutional right, and (2)

the unlawfulness of their conduct was ‘clearly established at the time.’” D.C. v. Wesby, 138 S.

Ct. 577, 589 (2018) (quoting Reichle v. Howards, 566 U.S. 658, 664 (2012)). A court has

discretion to decide which of the two prongs of this analysis it should address first. Pearson v.

Callahan, 555 U.S. 223, 236 (2009). Here, Individual Defendants only focus on the second

prong, the clearly established prong. They argue that they are entitled to qualified immunity

because it was not clearly established at the time that retaliating against Bennett for her

Facebook post would violate Bennett’s First Amendment right of free speech.




2
 Individual Defendants, however, do not argue they are entitled to qualified immunity for Bennett’s First
Amendment political affiliation retaliation claim or Fourteenth Amendment procedural due process claim.

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             Case 2:20-cv-05841-AB Document 35 Filed 02/16/22 Page 3 of 5




          In other words, Individual Defendants argue that it was not clearly established at the time

that Bennett’s post on Facebook, which was critical of Black Lives Matter and supportive of

President Donald Trump, was protected speech under the First Amendment. To succeed on a

First Amendment retaliation claim, a plaintiff must show her speech is protected by the First

Amendment. Munroe v. Central Bucks School Dist., 805 F.3d 454, 466 (3d Cir. 2015), as

amended (Oct. 25, 2019). A public employee’s speech is protected if: (1) the employee spoke as

a citizen and not as an employee; (2) the speech involved a matter of public concern; and (3) the

government lacks a sufficient reason for treating the employee differently than the general public

based on its role as an employer under the Pickering balancing test. 3 Id.

          The first two elements necessary to establish that a public employee’s speech is protected

are satisfied. Bennett was speaking as a citizen when she posted on her personal Facebook page.

Also, her post implicates a matter of public concern because it can “be fairly considered as

relating to any matter of political, social, or other concern to the community.” Connick v. Myers,

461 U.S. 138, 146 (1983). As to third element, the Pickering balancing test requires a court to

balance the interests of the employee and the public in the speech at issue against “the

government’s legitimate and countervailing interest, as an employer, in promoting workplace

efficiency and avoiding workplace disruption.” Munroe, 805 F.3d at 472 (internal quotation

marks omitted). “The government need not show the existence of actual disruption if it

establishes that disruption is likely to occur because of the speech.” Id. The balancing test “is a

fact-intensive inquiry that requires consideration of the entire record, and must yield different

results depending on the relative strengths of the issue of public concern and the employer’s

interest.” Id.



3
    The Pickering balancing test was established in Pickering v. Board of Education, 391 U.S. 563 (1968).

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           Case 2:20-cv-05841-AB Document 35 Filed 02/16/22 Page 4 of 5




       Individual Defendants argue that qualified immunity applies because it is not clearly

established that the Pickering balancing test would tilt in favor of Bennett given that the alleged

protected speech concerned the Black Lives Matter movement, “a fairly new societal

phenomenon,” Defs.’ Mot. at 9, and the speech caused and was likely to cause disruption. At the

motion to dismiss stage where the question is whether qualified immunity is established on the

face of the complaint, Individual Defendants are unable to establish the likelihood and extent of

the disruption caused by Bennett’s speech. Therefore, Individual Defendants have failed to

demonstrate that it was not clearly established that Bennett’s Facebook post was protected

speech under the First Amendment. I deny Individual Defendants’ motion to dismiss without

prejudice to raise qualified immunity at a later stage of the litigation.




                                                   4
           Case 2:20-cv-05841-AB Document 35 Filed 02/16/22 Page 5 of 5




                                           ORDER


        AND NOW, this 16th day of February, 2022, it is ORDERED that Individual

Defendants’ Motion to Dismiss for Failure to State a Claim under Fed. R. Civ. Procedure

12(b)(6) (ECF No. 3) is DENIED without prejudice to raise qualified immunity at a later stage

of the litigation.




                                            __S/Anita B. Brody_____________
                                            ANITA B. BRODY, J.




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